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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA                             )
                                                     )
vs.                                                  )       CRIMINAL NO. 04-00072-WS
                                                     )
LARRY THOMAS DACUS,                                  )
                                                     )
                 Defendant.                          )

                                                 ORDER
         This matter is set for resentencing before the Court on September 21, 2005 at 2:00 p.m. in
Courtroom 2-A. The defendant’s motion for limited release, (Doc. 114, ¶ 1), is denied. The
defendant is ordered to file a written waiver of physical presence, as he intends to do, (id., ¶ 3), prior
to resentencing. Counsel for the defendant is ordered to make all necessary arrangements for a federal
defender to be present with the defendant during resentencing, (id., ¶ 5), and to supply the courtroom
deputy with all information necessary to place the telephone call to the facility at FPC Forrest City.
(Id., ¶ 3).
         The parties are reminded that resentencing allows the presentation of evidence only with
respect to matters made newly relevant by United States v. Booker, 125 S. Ct. 738 (2005). (Doc.
112 at 2 n.6). This restriction would appear to preclude evidence concerning the defendant’s post-
offense rehabilitation efforts as well as evidence concerning the financial impact of incarceration on his
family. See U.S.S.G. 5H1.6 and Application Note 1.B.


         DONE and ORDERED this 12th day of September, 2005.


                                                          s/ WILLIAM H. STEELE
                                                          UNITED STATES DISTRICT JUDGE
